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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION

XOCHITL DIAZ,                     §
                                  §
         Plaintiff,               §
                                  §
    v.                            §                  No.
                                  §
COMERCIAL RECOVERY SYSTEMS, INC., §
                                  §
         Defendant.               §

                                  PLAINTIFF’S COMPLAINT

       XOCHITL DIAZ (“Plaintiff”), through her attorneys, KROHN & MOSS, LTD., alleges the

following against COMERCIAL RECOVERY SYSTEMS, INC. (“Defendant”):

                                        INTRODUCTION

       1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act (“FDCPA”),

15 U.S.C. § 1692, et seq.

       2.      Count II of Plaintiff’s Complaint is based on Texas Statute, Financial Code §

392.302, et seq. (“Texas Financial Code”).

                                 JURISDICTION and VENUE

       3.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court without

regard to the amount in controversy.”

       4.      Defendant conducts business and is principally located in the State of Texas

establishing personal jurisdiction.

       5.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
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                                             PARTIES

       6.      Plaintiff is a natural person residing in Laredo, Webb County, Texas.

       7.      Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3) and Texas

Financial Code § 392.001(1).

       8.      Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5) and

Texas Financial Code § 392.001(2).

       9.      Defendant is a business entity with an office located at 8035 East R. L. Thornton

Freeway, Suite 200, Dallas, Texas 75228.

       10.     Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6) and Texas

Financial Code § 392.001(6).

       11.     Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS

       12.     Defendant contacted Plaintiff attempting to collect a debt on behalf of a lender for a

loan which Plaintiff used for the purchase of a vehicle.

       13.     In its collection attempts, Defendant placed telephone calls to Plaintiff at (956) 220-

28xx, (956) 237-16xx and (956) 727-25xx.

       14.     Defendant started placing its collection calls around the middle of January 2013.

       15.     Plaintiff answered one of Defendant’s initial collection calls and was informed by

Defendant’s employee that Defendant was collecting a debt for a loan made to Plaintiff.

       16.     During subsequent collection calls, Defendant left voice messages if Plaintiff was not

able to answer the telephone. See transcribed message, attached hereto as Exhibit A.

       17.     Defendant’s message suggests legal action has been taken against Plaintiff by
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claiming that an “affidavit of complaint” has been filed against Plaintiff, informing Plaintiff that the

matter would be processed in Webb County, providing Plaintiff with a “case number” and

instructing Plaintiff or her “legal attorneys” to call Defendant. See Exhibit A.

        18.     Upon information and belief, neither Defendant nor its client has filed any lawsuit or

otherwise taken any legal action against Plaintiff with respect to the debt.

        19.     Defendant never identified its company name in its message. See Exhibit A.

        20.     Defendant also failed to inform Plaintiff that it is a debt collector. See Exhibit A.

        21.     Defendant withheld that the true purpose and nature of its call was to attempt to

collect a debt from Plaintiff. See Exhibit A.

        22.     Defendant’s message suggested that a lawsuit has been, or is about to be filed,

against Plaintiff and further attempted to exaggerate the purported severity of its call by suggesting

that Plaintiff’s “legal attorney” should call Defendant. See Exhibit A.

        23.     Defendant used false, deceptive and misleading representations in connection with

its attempts to collect the alleged debt by suggesting legal action has been, or will be, taken, by not

disclosing the true purpose of its phone call and by not disclosing that it is a debt collector in order

to deceive Plaintiff.

                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

        24.     Defendant violated the FDCPA based on the following:

                a. Defendant violated § 1692d of the FDCPA by engaging in conduct the natural

                    consequence of which is harassing and annoying;

                b. Defendant violated § 1692d(6) of the FDCPA by leaving a message without

                    providing meaningful disclosure of its identity;

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              c. Defendant violated § 1692e of the FDCPA by using false, deceptive or

                 misleading representation with the collection of the debt;

              d. Defendant violated § 1692e(5) of the FDCPA threatening action that cannot, or

                 is not intended, to be taken;

              e. Defendant violated § 1692e(10) of the FDCPA by using false representations

                 and/or deceptive means to attempt to collect a debt; and

              f. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

                 communication with Plaintiff that it is a debt collector.

       WHEREFORE, Plaintiff, XOCHITL DIAZ, respectfully requests judgment be entered

against Defendant, COMERCIAL RECOVERY SYSTEMS, INC., for the following:

       25.    Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act,

15 U.S.C. § 1692k.

       26.    Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692k.

       27.    Any other relief that this Honorable Court deems appropriate.

                                     COUNT II:
                               DEFENDANT VIOLATED
                             THE TEXAS FINANCIAL CODE

       28.    Defendant violated Texas Financial Code based on, but not limited to, the following:

              a. Defendant violated § 392.302(2) of the Financial Code by placing telephone

                 calls without disclosing itself;

              b. Defendant violated § 392.304(8) of the Financial Code by misrepresenting the

                 character of the debt and/or misrepresenting the debt's status;

              c. Defendant violated § 392.304(a)(19) of the Financial Code by using deceptive
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                  means to collect a debt.

       WHEREFORE, Plaintiff, XOCHITL DIAZ, respectfully requests judgment be entered

against Defendant, COMERCIAL RECOVERY SYSTEMS, INC., for the following:

       29.    Injunctive relief pursuant to Texas Financial Code § 392.403(a)(1), to prevent

Defendant from further violating the Texas Financial Code.

       30.    Costs and reasonable attorneys’ fees pursuant to Texas Financial Code § 392.403(b).

       31.    Any other relief that this Court deems appropriate.



       Dated: March 22, 2013                 RESPECTFULLY SUBMITTED,

                                             KROHN & MOSS, LTD.



                                     By: /s/ Douglas Baek                        .

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